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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                             )
In re:                                       )                              Chapter 11
                                             )
MALLINCKRODT PLC, et al.,                    )                              Case No. 20-12522 (JTD)
                                             )
            Debtors.1                        )                              Jointly Administered
                                             )
                                             )
OPIOID MASTER DISBURSEMENT TRUST II,         )
                                             )
            Plaintiff,                       )
                                             )                              Adv. No. ____________
       v.                                    )
                                             )
ARGOS CAPITAL APPRECIATION MASTER FUND )
LP; BARCLAYS CAPITAL, INC.; BEC CAPITAL LLC; )
BLACKROCK INSTITUTIONAL TRUST COMPANY, )
N.A. (UK BRANCH); BLACKROCK                  )
INTERNATIONAL LIMITED; BLACKSTONE            )
SENFINA ADVISORS LLC; BLUE RIDGE CAPITAL )
HOLDINGS LLC; BLUE RIDGE CAPITAL LLC;        )
CAPITAL FUND MANAGEMENT SA; CAPITAL          )
GROWTH MANAGEMENT LIMITED PARTNERSHIP; )
CARLSON CAPITAL LP; CHESTER DRIVE CAPITAL )
LP; CHIMERA SECURITIES LLC; CITADEL          )
SECURITIES LLC; CLEAR STREET MARKETS LLC )
a/k/a SUMMIT SECURITIES GROUP LLC;           )
CONSONANCE CAPITAL MANAGEMENT LP;            )
CUTLER GROUP LLC a/k/a CUTLER GROUP LP; D.E. )
SHAW ASYMPTOTE PORTFOLIOS LLC; D.E. SHAW )
VALENCE PORTFOLIOS LLC; DEUTSCHE BANK        )
AG; EG MARKET TECHNOLOGIES LLC; ELEMENT )
CAPITAL MANAGEMENT LLC; ENGINEERS GATE )
MANAGER LP; ERGOTELES LLC; EVERPOINT         )
ASSOCIATES LLC; G1 EXECUTION SERVICES LLC; )
GF TRADING LLC; GTS SECURITIES LLC;          )
HEALTHCOR MANAGEMENT LP; HEHMEYER LLC; )
HOPLITE CAPITAL LLC; HRT EXECUTION           )
SERVICES LLC; HRT EXECUTION SERVICES, LLC )
a/k/a SUN TRADING LLC; HRT FINANCIAL LP; HRT )

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           A complete list of the Debtors in the chapter 11 cases may be obtained on the website of the Debtors’ claims
and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt.



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FINANCIAL L P a/k/a HRT FINANCIAL LLC; IMC-         )
CHICAGO LLC d/b/a IMC FINANCIAL MARKETS;            )
JANE STREET CAPITAL LLC; JUMP TRADING LLC; )
KOREA INVESTMENT CORPORATION; LATOUR                )
TRADING LLC; LION CAVE CAPITAL LLC; LION            )
CAVE MANAGEMENT LLC; MERRILL LYNCH,                 )
PIERCE, FENNER & SMITH INCORPORATED;                )
MOORE CAPITAL MANAGEMENT LP; PALOMINO )
LIMITED; PAULSON & CO., INC.; PFM HEALTH            )
SCIENCES LP a/k/a PARTNER FUND MANAGEMENT )
LP; POTAMUS HOLDINGS LLC a/k/a POTAMUS              )
TRADING LLC; QUANTBOT MANAGEMENT                    )
MASTER FUND SPC LTD; QUANTITATIVE                   )
INVESTMENT MANAGEMENT LLC; QUANTLAB                 )
SECURITIES LP; QUANTLAB TRADING PARTNERS )
US LP; RESILIENT CAPITAL LLP; RGM SECURITIES )
LLC; RIEF RMP LLC; RIEF TRADING LLC; ROCK           )
CREEK MB LLC; SIMPLEX TRADING LLC; SPIRE X )
TRADING LLC; SQUAREPOINT OPS LLC;                   )
SUSQUEHANNA SECURITIES LLC; SVB                     )
SECURITIES LLC a/k/a LEERINK PARTNERS LLC; T. )
ROWE PRICE ASSOCIATES, INC., AND JOHN DOE )
FUNDS; T3 TRADING GROUP LLC; TEWKSBURY              )
INVESTMENT FUND LTD; THESYS TECHNOLOGIES )
LLC; TOWER RESEARCH CAPITAL LLC;                    )
TRADEBOT SYSTEMS, INC.; TRILLIUM TRADING )
LLC; VA MANAGEMENT LP a/k/a VISIUM ASSET            )
MANAGEMENT LP; VIRTU AMERICAS LLC a/k/a             )
KCG AMERICAS LLC; VIRTU AMERICAS, LLC a/k/a )
VIRTU FINANCIAL BD LLC; WILLIAM BLAIR &             )
COMPANY LLC; XTX MARKETS LLC, and JOHN              )
DOE DEFENDANTS, and                                 )
                                                    )
HRT FINANCIAL LP, PAULSON & CO., INC. and           )
CUTLER GROUP LP on behalf of themselves and a class )
of similarly situated persons and legal entities,   )
                                                    )
                Defendants.                         )

                                       COMPLAINT


                            FILED UNDER SEAL


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